






	






				




NUMBER 13-07-00507-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


____________________________________________________________

										


RUDOLPH OLIVA HERRERA,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.


____________________________________________________________


On appeal from the 275th District Court


of Hidalgo County, Texas.


____________________________________________________________


MEMORANDUM OPINION



Before Justices Yañez, Garza, and Benavides
Memorandum Opinion Per Curiam



	Appellant, Rudolph Oliva Herrera, by and through his attorney, has filed a motion
to dismiss his appeal because he no longer desires to prosecute it.  See Tex. R. App. P.
42.2(a).  Without passing on the merits of the case, we grant the motion to dismiss
pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal.  Having
dismissed the appeal at appellant's request, no motion for rehearing will be entertained,
and our mandate will issue forthwith.

								PER CURIAM


Do not publish.  

Tex. R. App. P. 47.2(b).  

Memorandum Opinion delivered 

and filed this the 14th day of August.


